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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

TIMOTHY KING, et.al.,                  Case No. 20-cv-13134
     Plaintiffs,                       Hon. Linda V. Parker
v.
GRETCHEN WHITMER, in her official capacity
as Governor of the State of Michigan, et.al.,
     Defendants,

and

ROBERT DAVIS,
     Intervenor Defendant.
__________________________________________________________________/
GREGORY J. ROHL (P39185)                   HEATHER S. MEINGAST (P55439)
The Law Offices of Gregory Rohl            ERIC GRILL (P64713)
41850 West 11 Mile Rd., Ste.110            Assistant Attorneys General
Novi, MI 48375                             Attorneys for Defendants
(248) 380-9404                             P.O. Box 30736
gregoryrohl@yahoo.com                      Lansing, MI 48909
                                           (517) 335-7659
                                           meingasth@michigan.gov
                                           grille@michigan.gov

                                           ANDREW A. PATERSON (P18690)
                                           Attorney for Proposed Intervening
                                           Defendant Robert Davis
                                           2893 E. Eisenhower Pkwy
                                           Ann Arbor, MI 48108
                                           (248) 568-9712
                                           Aap43@outlook.com
__________________________________________________________________/

  INTERVENOR DEFENDANT ROBERT DAVIS’ NOTICE OF
    WITHDRAWAL OF EMERGENCY MOTION TO STRIKE
    PLAINTIFFS’ MOTION FOR TRO [6] (ECF NO. 45) AND
INTERVENOR DEFENDANT DAVIS’ EMERGENCY MOTION TO
           EXPEDITE BRIEFING (ECF NO. 46).

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      NOW COMES INTERVENOR DEFENDANT ROBERT DAVIS, by

and through his attorney, ANDREW A. PATERSON, and for his Notice

of Withdrawal of Intervenor Defendant Robert Davis’ Emergency Motion

to Strike Plaintiffs’ Emergency Motion for TRO [7] (ECF No. 45) and

Intervenor Defendant Davis’ Emergency Motion to Expedite Briefing

(ECF No. 46), states as follows:

      Intervenor Defendant Robert Davis hereby withdraws Intervenor

Defendant’s Emergency Motion to Strike Plaintiffs’ Emergency Motion

for TRO [7] (ECF No. 45) and Intervenor Defendant Davis’ Emergency

Motion To Expedite Briefing (ECF No. 46). The foregoing emergency

motions (ECF No. 45, 46) are hereby withdrawn because the Court’s

December 3, 2020 “Text-Only” Order DENYING Intervenor Defendant

Davis’ Emergency Motions to Strike Plaintiffs’ amended complaint (ECF

Nos. 41, 42) renders them moot.

Dated: December 4, 2020              Respectfully submitted,

                                     /s/ ANDREW A. PATERSON
                                    ANDREW A. PATERSON (P18690)
                                    Attorney for Intervenor Defendant
                                    Robert Davis
                                    2893 E. Eisenhower Pkwy
                                    Ann Arbor, MI 48108
                                    (248) 568-9712
                                    aap43@outlook.com

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                     CERTIFICATE OF SERVICE

      I, ANDREW A. PATERSON, certify that forgoing document(s) was

filed and served via the Court's electronic case filing and noticing

system (ECF) this 4th day of December, 2020, which will automatically

send notification of such filing to all attorneys and parties of record

registered electronically.

Dated: December 4, 2020            Respectfully submitted,

                                   /s/ ANDREW A. PATERSON
                                   ANDREW A. PATERSON (P18690)
                                   Attorney for Intervenor Defendant
                                   Robert Davis
                                   2893 E. Eisenhower Pkwy
                                   Ann Arbor, MI 48108
                                   (248) 568-9712
                                   aap43@outlook.com




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